Filed 10/31/23                                            Case 21-20904                                                Doc 171




             1
        2
             JAMES MICHAEL HOPPER
             Chapter 7 Trustee
                                                                                 F7-
                                                                                   FIL I ~-D-,
        3    P.O. Box 73826
                                                                                        OCT 3 12023
             Davis, CA 95617
        4    (530) 757-2033                                                      UNITED STATES BANKRUPTCY COURT
                                                                                  EASTERN DISTRICT OF CALIFORNIA
         5

        6                                UNITED STATES BANKRUPTCY COURT

        7                                  EASTERN DISTRICT OF CALIFORNIA
         8
                                                   SACRAMENTO DIVISION
        9
             In re:                                                  Case No. 21-20904-B-7
        10

             JANIS ELIZABETH KITCHEN                                 Chapter 7
        11


        12
                      Debtor
        13


        14
                                   TURNOVER OF UNCLAIMED DIVIDEND

        15

             TO THE CLERK, UNITED STATES BANKRUPTCY COURT:
        16


        17
                     Please find submitted herewith check number 10130 in the amount of $50,780.5
             representing the total amount of an unclaimed dividend in the above entitled estate from th
        IS   distribution. This amount is being paid over pursuant to 11 U.S.C. §347(a) and Bankruptcy Rul
             3011. The name and address of the claimant entitled to the unclaimed dividend is as follows:
        19


        20        Claim #  Name& Address of Claimant                  Claim Amount               Dividend Amount
                 SURPLUS Janis Elizabeth Kitchen                       $50,780.58                   $50,780.58
        21                12975 Spruce Lane
                               Browns   Valley,   CA   95918

        22
             I            I                                    I   Total Unclaimed Dividend 1        $50,780.58    I
        23


        24   Dated: October 26, 2023
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                                                                                    H
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    $   28
